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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
                                                                 Case No.         2:19-CR-049-RMP-1
 UNITED STATES OF AMERICA,
                                                                 CRIMINAL MINUTES
                                       Plaintiff,                DATE:            FEBRUARY 18, 2020
        -vs-

 JAYDIN LEDFORD,                                                 LOCATION: SPOKANE

                                       Defendant.                CHANGE OF PLEA HEARING



                                      HON. ROSANNA MALOUF-
                                            PETERSON
          Michelle Fox                      02                                            Crystal Hicks
      Courtroom Deputy                 Law Clerk               Interpreter               Court Reporter

                   Patrick Cashman                                            Andrea George

                 Government Counsel                                          Defense Counsel
 United States Probation Officer: Danyelle Storms

       [ X ] Open Court                       [ ] Chambers                          [ ] Telecon
Defendant present with counsel and out of custody of the US Marshal.

Plea agreement signed and filed
Oath administered to defendant. Court speaks to defendant about Indictment. Advises defendant of his
constitutional rights.

Court is concerned with language in plea agreement.
   A. George responds.
   Court will not accept the plea agreement at this time since it is an 11(c)(1)(C) plea agreement but will
proceed with the plea.

Factual basis and elements presented by P. Cashman.

Court outlines the agreements for plea and sentencing guidelines.

Defendant pleads guilty to Count 2 of the Indictment.


[ X ] ORDER FORTHCOMING

 CONVENED: 3:00 P.M.            ADJOURNED: 3:25 P.M.           TIME: 25 MIN.            CALENDARED        [ X ]
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USA -vs- Ledford                                                                      February 18, 2020
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Change of Plea Hearing


Court not accepting the plea agreement until the presentence report is completed.
The Court accepts the plea of guilty.
Court finds the plea to be knowing, intelligent, voluntary and defendant’s own.
Order accepting guilty plea to the Indictment will be signed and filed.
Any pending motions are denied as moot.
Sentencing Date: May 5, 2020 at 2:30 pm
